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                                  U.S. Department of Justice
                                  Criminal Division, Fraud Section




August 5, 2020

VIA EMAIL

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       Re:      United States v. Vorley, et. al, No. 18 CR 35

Dear Counsel:

        Please find attached drafts of certain summary exhibits. Specifically, the attached
summaries correspond to Exhibits 1, 32, and 33 on the government’s exhibit list. In addition,
certain of the charts in Exhibit 1 also comprise the summary charts in Exhibits 2 through 17.
Although summary exhibits are not due for several weeks, the attached charts are substantially in
final form, so we are providing them now. We expect to introduce these summaries through a
witness from Analysis Group, Inc. Thereafter, other trial witnesses will refer to them. At this
time, the government anticipates that these witnesses are David Liew, Special Agent Jonathan
Luca, Professor Kumar Venkataraman, Charles Graf, Anand Twells, and Travis Varner.


                                                     Very truly yours,

                                                     /s/ Avi Perry
                                                     Avi Perry, Assistant Chief
                                                     Brian Young, Deputy Chief
                                                     Leslie S. Garthwaite, Trial Attorney
                                                     U.S. Department of Justice
                                                     Criminal Division, Fraud Section
